      Case 8-21-70611-reg         Doc 24     Filed 04/19/21      Entered 04/19/21 17:53:54




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
 In re:
                                                            Chapter 11
 BARNET LOUIS LIBERMAN,
                                                            Case No. 21–70611 (REG)
                                  Debtor.


                                 CERTIFICATE OF SERVICE

Paris Gyparakis, under penalty of perjury, hereby certifies as follows:

               1.      I am over 18 years of age, reside in New York, New York and am not a

party to this proceeding.

               2.      On April 16, 2021, I served a copy of the Debtor's Motion for Order

Approving Settlement [Doc. No. 22] and the Debtor's Motion for Order (I) Authorizing the Debtor

to Obtain Postpetition Financing; (II) Granting Security Interests and Superpriority

Administrative Expense Status; (III) Modifying the Automatic Stay; and (IV) Authorizing the

Debtor to Enter Into Agreements With 305-421 LLC [Doc. No. 23], upon the parties whose names

and addresses are set forth on the annexed service list by regular first-class mail, by depositing true

copies of same in pre-paid, properly addressed wrappers in an official depository under the

exclusive care and custody of the United States Postal Service within the state of New York.

Dated: New York, New York
       April 19, 2021




                                                               Paris Gyparakis
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                                     SERVICE LIST

305 2nd Avenue Associates LP                     Balmoral Builders
421 Hudson Street                                421 Hudson Street, C-9
New York, NY 10014                               New York, NY 10014

305 Second Avenue Mezz Lender LLC                Balwinder Singh
230 Park Avenue                                  3217 72nd Street
New York, NY 10169                               East Elmhurst, NY 11370

Aaron Liberman                                   Bank of America
421 Hudson Street, Apt 805                       PO Box 982234
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Across From the Green LLC                        Berkman Henoch Peterson
201 Three Pompeaug Office                        Peddy & Fenchel PC
Southbury, CT 6488                               100 Garden City Plaza
                                                 Garden City, NY 11530
AJ Strasser
482 Greenwich Street                             Bernard Liberman
New York, NY 10013                               101 E Read Street
                                                 Baltimore, MD 21202
Alan Gordon
420 West End Avenue, 9th Fl.                     Bethpage Credit Union
New York, NY 10024                               899 South Oyster Bay Rd.
                                                 Bethpage, NY 11714
American Express
PO Box 1270                                      BFN Ventures LLC
Newark, NJ 7101                                  421 Hudson Street, Unit 808
                                                 New York, NY 10014
Annette Miller
330 Beacon Street                                Blank Rome LLP
Boston, MA 2116                                  405 Lexington Avenue
                                                 New York, NY 10174
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c/o Argentic Real Estate                         Blut Law Group PC
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Ava Liberman                                     C & A Construction
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New York, NY 10014                               Danbury, CT 6811

Axos Bank (BOFI Federal Bank)                    C.S. Good Friend & Co.
435 Ola Jolia Village Dr.                        11 Riverdale Ave
San Diego, CA 92122                              Port Chester, NY 10573
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                                                    New York, NY 10065
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Consolidated Edison, Inc.                           32 Hampton Road
JAF Station                                         Southampton, NY 11968
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                                                    Eaton & Peabody
Cozen O'Connor                                      80 Exchange Street
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Bedford, NY 10506
                                                    Epic W 14 LLC
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Des Plaines, IL 60018
                                                    Frenkel Hershkowitz et al
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New Gloucester, ME 4260                        Brooklyn, NY 11201

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Las Vegas, NV 89148                            P.O. Box 5300
                                               Albany, NY 12205-0300
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Astoria, NY 11102                              Insolvency Unit
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                                                 c/o Safanad Inc.
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New York, NY 10016
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